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10

11                                UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     GOOGLE LLC,                                      Case No. 3:20-cv-03845-EMC
15
                  Plaintiff,                          GOOGLE LLC’S ADMINISTRATIVE
16                                                    MOTION TO CONSIDER WHETHER
          vs.                                         CASES SHOULD BE RELATED
17
                                                      PURSUANT TO CIVIL L.R. 3-12
18 SONOS, INC.,
                                                      DEMAND FOR JURY TRIAL
19                Defendant.
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                                                                        Case No. 3:20-cv-03845-EMC
                               GOOGLE’S ADM. MTN. TO CONSIDER WHETHER CASES SHOULD BE RELATED
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 1          PLEASE TAKE NOTICE THAT, pursuant to Civil Local Rules 3-12 and 7-11, Plaintiff

 2 Google LLC (“Google”), hereby requests that the Court make a determination that the above-

 3 captioned case, Google LLC v. Sonos, Inc., Case No. 3:20-cv-03845-EMC (“Google/Sonos I”), is

 4 related to another case filed in this District, Google LLC v. Sonos, Inc., Case No. 3:20-cv-06754-

 5 LB (“the Google/Sonos DJ”) (collectively, “Google/Sonos NDCA Actions”). Sonos, Inc.

 6 (“Sonos”) opposes this request.

 7 I.       ACTION REQUESTED
 8          An order pursuant to Civil L.R. 3-12 relating the Google/Sonos DJ to Google/Sonos I.

 9 II.      BACKGROUND
10          A.     Google/Sonos I
11          On June 11, 2020, Google filed a complaint against Sonos in the Northern District of

12 California, alleging infringement of five patents. Google LLC v. Sonos, Inc., Case No. 3:20-cv-

13 03845-EMC, Dkt. 1. The patents-at-issue relate to a number of technologies for use in home

14 audio network configurations, including technologies generally relating to: improved introduction

15 of devices into a domain-based digital rights management system; exchange of data among audio

16 devices within a mesh network, wherein the data is targeted at specific devices based on an

17 identification code in a data packet; adaptive echo cancellation and noise suppression in an audio

18 device; and personalized and global searching of media content over a network, such as the

19 Internet.

20          B.     Google/Sonos DJ
21          On September 28, 2020, Google filed a complaint against Sonos in the Northern District of

22 California, requesting a declaration of noninfringement of five patents. Google LLC v. Sonos,

23 Inc., Case No. 3:20-cv-06754-LB, Dkt. 1. Google filed this complaint after Sonos informed

24 Google that Sonos intended to file a complaint on these same patents in the Western District of

25 Texas. Id. Sonos filed its complaint against Google in the Western District of Texas on

26 September 29, 2020. Sonos, Inc. v. Google LLC, Case No. 6-20-cv-00881-ADA. The patents-at-

27 issue in the Google/Sonos DJ relate to technologies for use in home audio network configurations,

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 1 including technologies generally relating to: music playback in a network, music playback device

 2 management in a network, and dynamic sound equalization in an audio device.

 3 III.     ARGUMENT
 4          Civil Local Rule 3-12(a) provides that “[a]n action is related to another when: (1) [t]he

 5 actions concern substantially the same parties, property, transaction or event; and (2) [i]t appears

 6 likely that there will be an unduly burdensome duplication of labor and expense or conflicting

 7 results if the cases are conducted before different Judges.”

 8          A.      The Google/Sonos NDCA Actions Involve Substantially The Same Parties,
                    Patents, Legal Issues, And Transactions.
 9
            Both of the Google/Sonos NDCA Actions involve Plaintiff Google and Defendant Sonos.
10
            The Google/Sonos NDCA Actions involve the same federal statutes under the patent laws
11
     of the United States, 35 U.S.C. § 1-390.
12
            And the Google/Sonos NDCA Actions involve the same technologies. The technologies at
13
     issue in each case are (i) network connected loudspeakers and controllers and (ii) media
14
     applications for use with these speakers. For example, the Google/Sonos DJ relates to
15
     Chromecast, Chromecast Ultra, Chromecast Audio, Chromecast with Google TV, Home Mini,
16
     Nest Mini, Home, Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest Audio, Nest Wifi
17
     Point, YouTube Music app, Google Play Music app, YouTube app, Google Home app, and
18
     Google’s “Pixel” phones, tablets, and laptops. Google/Sonos DJ Dkt. 1 at ¶ 2. Google/Sonos I
19
     relates to the Sonos One, One SL, Five, Play:1, Play:3, Play:5, Playbar, Playbase, Beam, Arc,
20
     Move, Connect:Amp, Amp, Connect, Sub, and the Sonos S1 Controller App and S2 App.
21
     Google/Sonos I Dkt. 35 at ¶ 12. These products share technological commonalities, such as
22
     networking, sound reproduction, and media searching. Indeed, three of the Sonos patents at issue
23
     in the Google/Sonos DJ are patents that Sonos says are practiced by three of the Sonos
24
     technologies at issue in Google/Sonos I. See https://www.sonos.com/en-us/legal/patents.
25
            B.      Relating The Google/Sonos NDCA Actions Will Conserve Judicial Resources
26                  And Avoid Inconsistent Results.

27          This Court is currently presiding over Google/Sonos I. Dkt. 17. This Court has overseen

28 Sonos’ Motion To Dismiss (Dkt. 25), Google’s submission of a First Amended Complaint (Dkt.

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 1 35), and Sonos’ Second Motion To Dismiss (Dkt. 39). This Court is or will be familiar with the

 2 parties, the controversies, and the subject matter at issue.

 3          Given the overlap between the parties and subject matter at issue, and the fact that this

 4 Court will be educated regarding the technology at issue through a technology tutorial, claim

 5 construction and trial in Google/Sonos I, this Court is particularly well situated to preside over the

 6 Google/Sonos DJ. Relating the two cases will avoid the “unduly burdensome duplication of labor

 7 and expense” and the prospect of “conflicting results” that would result from these cases

 8 proceeding before different Judges. Civil L.R. 3-12(a)(2).

 9 IV.      CONCLUSION
10          For the foregoing reasons, Google respectfully requests that Google/Sonos DJ be related to

11 Google/Sonos I pursuant to Civil Local Rule 3-12.

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13 DATED: October 13, 2020                       QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
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17
                                                  By          /s/ Charles K. Verhoeven
18                                                     Charles K. Verhoeven
                                                       Attorneys for GOOGLE LLC
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